Exhibit A
                        UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MASSACHUSETTS


D.V.D, et al.                                 :
                       Plaintiffs,            :
                                              :
v.                                            : CIVIL NO.: 2:25-cv-10676-BEM
                                              :
U.S. Department of Homeland                   :
Security, et al.                              :
                                              :
                       Defendants.            :
                                              :


                          DECLARATION OF BRIAN ORTEGA

          I, Brian Ortega, declare the following under 28 U.S.C. § 1746, and state that

under penalty of perjury the following is true and correct to the best of my knowledge

and belief:

     1.   I am employed by U.S. Department of Homeland Security (DHS), U.S.

          Immigration and Customs Enforcement (ICE), Enforcement and Removal

          Operations (ERO), as the Assistant Field Office Director (AFOD) for the

          ERO Phoenix Field Office. I have held this position since January 2022.

          Included in my official duties as an AFOD in the ERO Phoenix Field Office

          is the responsibility of assisting in and the managing, monitoring, scheduling,

          and executing removal orders for aliens in ICE custody at the Eloy Detention

          Center in Eloy, Arizona.

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2. I provide this declaration based on information provided to me in my official

   capacity, reasonable inquiry, and information obtained from various records,

   systems, databases, other DHS employees, and information portals

   maintained and relied upon by DHS in the regular course of business.

3. I am aware of the above captioned litigation. While preparing this

   declaration, I reviewed information contained in the official records and

   databases maintained by ICE regarding the immigration and custody status

   of the named Plaintiffs,                                    (O.C.G.),

                               (E.F.D.),                         (D.V.D.), and

                              (M.M.). I am therefore familiar with the facts and

   circumstances regarding the Plaintiffs’ immigration proceedings and state as

   follows:

                                    (O.C.G.)

4. O.C.G. is a 30-year-old, native and citizen of Guatemala.

5. O.C.G. entered the United States on March 27, 2024, at or near Santa Teresa,

   New Mexico without being admitted or paroled by an immigration official.

   On this same date, United States Border Patrol (USBP) agents arrested

   O.C.G. and issued him an expedited removal under 8 U.S.C. § 1225.

6. On or about April 2, 2024, ICE removed O.C.G. to Guatemala.

7. On May 5, 2024, O.C.G. re-entered the United States at or near Sasabe, AZ,


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   without being admitted or paroled by an immigration official. On this same

   date, USBP agents arrested O.C.G.

8. On May 6, 2024, USBP agents issued O.C.G. a Notice of Intent/Decision to

   Reinstate Prior Order under 8 U.S.C. § 1231(a)(5). On this same date, O.C.G.

   claimed fear of returning to Guatemala.

9. On or about May 7, 2024, USBP agents transferred O.C.G. to the Eloy

   Detention Center in Eloy, AZ, pending a reasonable fear interview with an

   asylum officer.

10.On or about June 11, 2024, the asylum officer made a positive reasonable

   fear determination and O.C.G.’s case was referred to an immigration judge.

11.On February 19, 2025, an immigration judge in Eloy, AZ issued an order

   granting O.C.G.’s request for withholding of removal to Guatemala under

   8 U.S.C. § 1231(b)(3).

12.On or about January 31, 2025, ERO Phoenix was advised that Mexico was

   accepting removals from other countries, such as Guatemala, El Salvador,

   and Nicaragua. Based on this information, ERO scheduled O.C.G. for

   removal to Mexico.

13.On or about February 21, 2025, prior to O.C.G being removed to Mexico,

   ERO verbally asked O.C.G. if he was afraid of being returned to Mexico. At

   this time, O.C.G. stated he was not afraid of returning to Mexico.


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14.On or about February 21, 2025, ICE removed O.C.G. to Mexico.

                              (E.F.D.)

15.E.F.D. is a 35-year-old, native and citizen of Ecuador.

16.E.F.D. entered the United States at an unknown time, date and place.

17. On or about October 20, 2015, immigration officials encountered E.F.D.

   shortly after his entry into the United States. He was placed in expedited

   removal proceedings under 8 U.S.C. §1225 and after a positive credible fear

   finding E.F.D was placed in removal proceedings under 8 U.S.C. §1229(a)

   as an arriving alien with no valid entry document.

18.On or about April 12, 2018, an immigration judge in Boston, MA ordered the

   removal of the E.F.D. to Ecuador but granted him withholding of removal

   under the Convention Against Torture.

19.On or about June 11, 2018, E.F.D was released by ERO on an order of

   supervision.

20.On March 18, 2025, ERO Boston arrested E.F.D. and revoked his order of

   supervision based upon ERO’s intention to remove E.F.D to a third country.

   On this same date, ERO Boston placed him in ICE custody at the Plymouth

   County Correctional Facility, in Plymouth, MA.

21.As of the date of this declaration, E.F.D.’s removal has not yet been

   scheduled.


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22.ERO Boston is aware this Court’s March 23, 2025, order requiring forty-

   eight hours’ notice prior to any transfer of E.F.D. outside the jurisdiction of

   the United States District Court of Massachusetts.

                   (D.V.D.)

23.D.V.D. is a 52-year-old native and citizen of Cuba.

24.D.V.D. was placed in removal proceedings under 8 U.S.C. § 1229a, after he

   applied for entry from Mexico into the United States through the San Ysidro

   Port of Entry on or about December 26, 2011.

25. On August 21, 2013, an immigration judge in San Diego, CA

   administratively closed D.V.D.’s removal proceedings.

26.On or about January 12, 2017, D.V.D. again applied for admission from

   Mexico into the United States at the San Ysidro Port of Entry.

27.On or about January 15, 2017, D.V.D. was placed in ICE custody at Otay

   Mesa Detention Center.

28.On or about January 23, 2017, DHS moved to re-calendar D.V.D.’s removal

   proceedings and change venue to Otay Mesa Detained Docket, in San Diego

   California.

29.On February 10, 2017, an immigration judge in San Diego, California denied

   D.V.D.’s request for voluntary departure to Cuba and ordered his removal to

   Cuba.


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    30.D.V.D. filed an appeal of this decision but then withdrew his appeal before

       the Board of Immigration Appeals (BIA). The BIA, with nothing new

       pending before it, returned the record to the Immigration Court without

       further action on April 12, 2017.

    31.On or about May 16, 2017, D.V.D. was booked out of Otay Mesa Detention

       Center and released on an order of supervision.

    32. D.V.D. is scheduled to check in with ERO Boston on March 28, 2025.

    33.As of the date of this declaration, D.V.D is not in ICE custody.

                             (M.M.)

    34.M.M. is a 43-year-old native and citizen of Honduras.

    35.On or about May 29, 2014, 1 USBP agents encountered M.M. in the Rio
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       Grande Valley, Texas Border Patrol Sector. A USBP agent determined M.M.

       had unlawfully re-entered the United States from Mexico.

    36. During this encounter, M.M. was processed for Reinstatement of Prior Order

       of Removal under 8 U.S.C. § 1231(b)(5). On May 31, 2014, M.M. was

       transferred into ICE custody but released on an Order of Supervision on this

       same date.

    37.On July 19, 2021, an immigration judge in Dallas, Texas granted M.M.’s


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  M.M. has a previous apprehension from May 12, 2006, and was processed as an expedited
removal and removed through the Albuquerque, NM Port of Entry on June 9, 2006.


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       request for withholding of removal to Honduras under 8 U.S.C. § 1231(b)(3).

    38.M.M. was subsequently enrolled in the Alternatives to Detention (ATD)

       program.

    39.Records reveal that M.M.’s last ATD check in was on February 21, 2025,

       with ERO Dallas.

    40.As of the date of this declaration, M.M. is not in ICE custody.



I declare, under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief, as of the time of signature.



Executed this _25th___ day of March, 2025.


                          BRIAN A ORTEGA Digitally signed by BRIAN A ORTEGA

                          ____________________________
                                         Date: 2025.03.25 12:58:05 -07'00'




                          Brian Ortega
                          Assistant Field Office Director
                          Enforcement and Removal Operations
                          U.S. Immigration and Customs Enforcement
                          U.S. Department of Homeland Security




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